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ASSIGNMENT BY DEALER

To: NMG Fioanctal Services, Inc. ("Assignee")
44 Old Ridgebury Road
Danbury, CT 06810

Re: Contract: Lease Agreement (Schedule No, 4120494)
Contract Date: May 8, 2001
Seller/Lessor {"‘Assignor"): KIA Systems, Inc.
Buyer/Lessee/Customer: Auburn Foundry Inc
Customer Address: 635 West Eleventh St Aubara, IN 46706

FOR VALUE RECEIVED, the undersigned Assignor hereby sells, transfers and assigns to. the above Assignee, its successors and assigns, WITHOUT
RECOURSE OR WARRANTY EXCEPT AS EXPRESSLY PROVIDED HEREIN, sll of Assignor’s right, title and interest'in and to. the above-described
contract and all related guaranties, documents and other instruments ("Account D ts"), all cquip collateral and.other property described therein (
“Account Property”), and all rights and remedies Uiercunder (all of the foregoing being referred to as the "Accoant’'), To induce Assignee to purchase the
Account (but without obligating Assignee to do so) and any Schedules thereto in the future, Assignor represents and warrants that onthe date hereof and as of
the date of any subsequent assignment of a Schedule that refers to this Assignment:

(a) the Account is genuine and represents a valid obligation of each borrower, buyer, lessee, guarantor or other party named. in any of the Account
Documents (each an “Account Party”); .

(b) cach Account Party is bona fide and in good standing:

« (e) the Account Documents delivered by Assignor to Assignee correctly reflect the entire agreement between Assignor and each Account Party with
respect to the Account,

(d) Assignor has delivered to Assignee all originals of the Account Documents except for hose in the passession or control ofan Account Party,

(e) all names, addresses, amounts, dates, signanires and other and facts. c ined in the Account Document (including, without limitation all
periodic rentals or installments) are genuine, truz and correct;

(fF) no rental, ins’ tor other. amount-on the Account tia has a duc date after the date ‘of this ‘Assignment (or, in. the case of'a subsequent assignment
ofa Schedule, the date of any such assignment) has been prepaid to Assignor, .

ig) Assignor'is not holding any sdvance rent, security deposits, or other credit supports given by any Account Party in connection with the Account and
any-such credit supports have been fully transferred to Assignee hereunder;

{h) cach Account Document has been duly authorized, execured:and delivered by. cach Account Party thereto and represents the legal, valid and binding
obligation of such Account Pasty, enforecable under al} applicable laws against such Account Party jn accordance with its terms, except.to the extent that
enforcement of remedies. miay be limited by applicable bankruptcy, insolvency. or similar laws;

(i) the Account is notin default and is free. from.any liens, :setofis, counterclims and any and all other defenses;
) there are-no claims pending or threatened by any Account Party against Assignor in connection with the Account or otherwise;

(&) any down payment, advance rental or security deposit that may be required on the Account Property has been fully paid in cash, and no part thereof
has been loaned, directly or indirectly, by Assignor, :

{l) all Account Property has been delivered to, ‘and unconditionally and imevoeably accepted by, the Account Party, and is in good and working
condition: ,

(m) the Account Documents evidence a valid reservation of tide 10, of first lica on, the Account Property that is effective agazinst al] persons;
(n) incircumstances where the Assignor filed, or was required to file by Assignee or by law, the Account Documents, Assignor has properly and timely

filed or recorded any Account Documents.or instruments 3s may be required under all applicable filing and recording stxnzes, and hes done.all other acts
necessary to ensure that Assignor's lien or other interest in the Account Property is and. will be superior to that of all other persons;

{o) in cir $ where Assignte has clecied to file the Account Documents, Assignor has properly and timely supplied to Assignee any Account
Documents or instruments as may be required for filing under al] applicable Filing end recording starutes, and has dote a] other ects necetsary to ensure
that Assignor’s lien orother interest in the Account Property is und will be superior to that of all other persons;

(p) Assignor has whe right to assign the Account to Assignee and this Assignment conveys to Assignee good and valid tide, st Jaw and in equity, to he
Account and to the Account Property, free and clear of any und all liens, claims and cacumbrances of any kind or nature whatsucver,

EXHIBIT SB 14.2

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For the purposes of any fliture assignments which are made pursuant to the terms and conditions of this Assignment, the terms, “Account Documents" and

“Account Property” us used herein shall refer in such cascs to the specific contracts and the Teluted property being assigned by such future essignment.

In the event of breach of any of the foregoing representations or warranties, Assignor will upon demand repurchase the Account (inchiding, without limitation,
the Account Property) and pay Assignee in cash or its equivalent the sum of (j) the amount remaining ta be paid thercon by any Account Party, less Assignee’s
unarmed finance charges, plus (fi) the amount (if any) which was paid to Assignee by Assignor as a part of the purchase price for the Account based on the
expected residual value of the Account Property at the expiration of the Account. Any such repurchase obligation shall arise without first requiring Assignee
to proceed against any Account Party or other person, or the Account Property or any other security. After such payment by Assignor, and provided that
Assignor has performed all of its other obligations under this Assignment, Assignee shall reassign the Account (inching, without Limiution, eny and all of
Assigner’s interest in the Account Property) upon request of Assignor without recourse to of warranty ofeny kind whatsoever by Assignee, If Assignor fails to
pay any amount that may come due to Assignee hereunder on its due date, then (3) interest shall accrus thereon from the dus date until paid in full (both before
and after any judgment) at a rate equal to the lesser of eighteen percent (18%) per anmum or the maximum rate not prohibited by law, and (Gi) Assignor shall
reimburse Assignee upon dereand for any and all collection and enforcement costs (inchiding, without limitation, reasonable attorneys’ fees). Assignor agrees
that Assignee may audit its books and records eelating to the Account upon any default by Assignor,

Any amount retained by Assignee as a reserve or holdback, as indicated on the voucher of Assignees draft in payment of the purchase price for the Account,
shall be beld by Assignee as security for, but not in lieu of performance of Assignor’s obligations under this Assignment or any other agreement with
Assignee, If Assignor fiils to perform any of such obligations, then Assignee may apply said reserve or holdback, or so nruch thereof as may be vecessary, or
any other property of Assignor in Assignee’s. possession, to satisty such obligations of Assignor. Such reserve or holdback need not be kept separate: from
Assignee's funds and shall not bear any interest or other income. When the Account has been paid in full and all obligations of Assignor to Assignee have
been performed, under this Assignment or otherwise, Assigneg shall retum to Assignor any amounts remaining in the reserve,

THIS ASSIGNMENT CONSTITUTES A SALE OF 100% OWNERSHIP INTEREST IN THE ACCOUNT AND SHALL [N NO WAY BE CONSTRUED AS
AN EXTENSION OF CREDIT BY ASSIGNEE TO ASSIGNOR. Assignor agrees to promptly deliver to Assignes the full amount of any security deposit
required by any of the Account Documents, Except as otherwise expressly provided herein, Assignor shall remain liable to perform all of its obligstions.in
connection with the Account (including, without limitstion, any obligation to provide maintenance or other services for any of the Account Property) end
Assignes shall not be liable for any of the obligations of Assignor. Assignor irrevocably authorizes Assignee, in the name of Assignee or Assignor, to notify
any Account Party of this Assignment, to collect and rewin any and all rentals, installments and/or other sums on the Account, and to take amy other action
with respect to the Account which Assignor might otherwise take. Assignor agrees that Assignee may sign and endorse Assignor’s name upon ny remirtances
received from any Account Party on the Account or any notices of assignment of the Account, Assignce may (without nodce to Assignor and without
affecting Assignor’s liability heveunder), but Assignor may not, enter into any settlement, extension, forbcaranee or other variation in terms in. connection with
the Account, or discharge or release the obligations of any Account Party or any other person, by operation of law or otherwise. Assignor shall not make any
collecdons or repossessions on the Account, Hor accept thus or muake-substitutions for Account Property, except with Assignee's prior written consent.
Assignor waives and releases any: right, title or interest that it may have (whether pursuant to 8 *crogs-collateralization" provision or otherwisc) in and to any
of the Account Property. Assignor agrecs to take such further action, and to exequte such further documents, which may be r ably req d by Assigy

to give effect to the transactions contemplated by this Assignment.

If by reason of any bankruptcy, insolvency or similar laws affecting the rights of creditors, Assignee shall be prohibited from exercising any of its rights or
remedies against any Account Party, then as between Assignee and Assignor such. prohibition shall be of no force and effect. The obligations of Assignor
hereunder shall remain in fall force and effect or be reinstated (as the case may be} if at any time payment or performance of the Account is rescinded, reduced
ot otherwise restored or retumed by Assignee, all a5 though such payment or performance ‘had not been made,

This: Assignment incorporétes al! terms and conditions rélating to purchase of the. Account by. Assignec, supersodes all prior xgrecments (whether written,
verbal, implied or otherwise) wid) respect thereto, and may not be modified except by a-duly executed written agreement. This Assigament relates only to the
Account identified above, and shall in no way affect, modify, or supersede any written agreement between Assignor and Assignee which does not relate to the
Account. Assignor waives notice of acceptance, Assignee’s failure or delay in exercising any tight or remedy shall not constinite a waiver, Waiver by
Assignee of any default. shall not constitute a waiver of any other default or-of any of the provisions hereof

ASSIGNOR HEREBY UNCONDITIONALLY WAIVES ITS RIGHT. TO A JURY TRIAL OF ANY CLAIM OR CAUSE OF ACTION BASED UPON OR
ARISING OUT OF, DIRECTLY OR INDIRECTLY, THIS ASSIGNMENT, ANY OF THE RELATED DOCUMENTS, ANY DEALINGS BETWEEN
ASSIGNOR AND ASSIGNEE RELATING TO THE SUBJECT MATTER OF THIS TRANSACTION OR ANY RELATED TRANSACTIONS, AND/OR
THE RELATIONSHIP THAT:IS BEING ESTABLISHED BETWEEN THEM. ‘The scope of this waiver is jntended to be all cncompassing of any-acd all
disputes that may be filed in any court (Including, without limitstion, contract claims, tort claims, breach of duty claims, and xil other common law and
ststutory claims). THIS WAIVER 1S IRREVOCABLE MEANING THAT IT MAY NOT BE MODIEIED EYTHER ORALLY OR IN WRITING, AND THE
WAIVER SHALL APPLY TO ANY SUBSEQUENT AMENDMENTS, RENEWALS, SUPPLEMENTS OR MODIFICATIONS: TO THIS ASSIGNMENT,
ANY RELATED DOCUMENTS, OR TO ANY OTHER DOCUMENTS OR AGREEMENTS RELATING TO THIS TRANSACT) 1ON OR ANY RELATED
TRANSACTION. In the event of litigation, this Assignment may be filed as.a written consent 10 & trial by the court. :

ASSIGNOR:

KMA Systems, Ine.

_ By: pr sth» ER
a bes tite: Corton

Witness

Date: gd ral ey
tv

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EXHIBIT “3 (252)

